Case 1:14-ml-02570-RLY-TAB Document 7600-2 Filed 02/01/18 Page 1 of 69 PageID #:
                                   41048




                             EXHIBIT B
Case 1:14-ml-02570-RLY-TAB Document 7600-2 Filed 02/01/18 Page 2 of 69 PageID #:
                                   41049



                   IN THE UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF INDIANA
                           INDIANAPOLIS DIVISION

 ___________________________________________

 IN RE COOK MEDICAL, INC., IVC FILTERS
 MARKETING, SALES PRACTICES AND                   Case No. 1:14-ml-2570-RLY-TAB
 PRODUCTS LIABILITY LITIGATION                    MDL No. 2570
 ___________________________________________

                      EXHIBIT B TO MOTION TO DISMISS
                             NOTICE LETTERS

                                  Sub-Exhibit 1




 US.116196584.01
 Case 1:14-ml-02570-RLY-TAB Document 7600-2 Filed 02/01/18 Page 3 of 69 PageID #:
                                    41050




Angela Kelver Hall                                                                Faegre Baker Daniels LLP
angela.hall@FaegreBD.com                                                 300 N. Meridian Street  Suite 2700
Direct 574.239.1903                                                       Indianapolis  Indiana 46204-1750
                                                                                    Phone +1 317 237 0300
                                                                                        Fax +1 317 237 1000



January 24, 2018


VIA E-MAIL AND FIRST CLASS MAIL
                                                                         For MDL Plaintiffs
David Mathew Haynie
BARON & BUDD PC
3102 Oak Lawn Ave.
Suite 1100
Dallas, TX 75219
mhaynie@baronbudd.com; Rtellis@baronbudd.com;
rbudd@baronbudd.com

       Re:       Cook MDL Plaintiff Profile Deficiency

Dear David Mathew Haynie:
According to our records, we have not received the Plaintiff Profile Sheet for the following
Plaintiffs:

             •   Lazenby, Mary
             •   Stokely, Kristen

Pursuant to Third Amended Case Management Order No. 4 (CMO No. 4), Cook may move to
dismiss Plaintiff’s case without prejudice for failure to timely submit a PPS.
Please submit Plaintiff’s PPS and all accompanying documents within five (5) business days to
CookFilterMDL@FaegreBD.com. If the documents are too large to send as attachments to an e-
mail please submit them using the following Secure File Transfer site:
https://sft.faegrebd.com/envelope/CookFilterMDL. If you fail to submit a PPS within the five (5)
days, Cook may move to dismiss Plaintiff’s case.


Very truly yours,




Angela Kelver Hall
 Case 1:14-ml-02570-RLY-TAB Document 7600-2 Filed 02/01/18 Page 4 of 69 PageID #:
David Mathew Haynie                 41051
                                      -2-                             1/24/2018



Cc:   Michael Heaviside - mheaviside@hrzlaw.com
      Ben Martin – bmartin@bencmartin.com
      David Matthews – dmatthews@thematthewslawfirm.com
Case 1:14-ml-02570-RLY-TAB Document 7600-2 Filed 02/01/18 Page 5 of 69 PageID #:
                                   41052



                   IN THE UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF INDIANA
                           INDIANAPOLIS DIVISION

 ___________________________________________

 IN RE COOK MEDICAL, INC., IVC FILTERS
 MARKETING, SALES PRACTICES AND                   Case No. 1:14-ml-2570-RLY-TAB
 PRODUCTS LIABILITY LITIGATION                    MDL No. 2570
 ___________________________________________

                      EXHIBIT B TO MOTION TO DISMISS
                             NOTICE LETTERS

                                  Sub-Exhibit 2




 US.116196584.01
 Case 1:14-ml-02570-RLY-TAB Document 7600-2 Filed 02/01/18 Page 6 of 69 PageID #:
                                    41053




Angela Kelver Hall                                                                Faegre Baker Daniels LLP
angela.hall@FaegreBD.com                                                 300 N. Meridian Street  Suite 2700
Direct 574.239.1903                                                       Indianapolis  Indiana 46204-1750
                                                                                    Phone +1 317 237 0300
                                                                                        Fax +1 317 237 1000



January 24, 2018


VIA E-MAIL AND FIRST CLASS MAIL
                                                                         For MDL Plaintiffs
Roland K. Tellis
BARON & BUDD PC
15910 Ventura Boulevard
Suite 1600
Encino, CA 91436
Rtellis@baronbudd.com; ezucker@baronbudd.com;
lbaughman@baronbudd.com

       Re:       Cook MDL Plaintiff Profile Deficiency

Dear Roland K. Tellis:
According to our records, we have not received the Plaintiff Profile Sheet for the following
Plaintiffs:

             •   Gettman, Barbara
             •   Hakim, Alfred
             •   Holdgreve, Dale
             •   Johnson, Henry
             •   Livingston, Detrice
             •   Novel, Wendy

Pursuant to Third Amended Case Management Order No. 4 (CMO No. 4), Cook may move to
dismiss Plaintiff’s case without prejudice for failure to timely submit a PPS.
Please submit Plaintiff’s PPS and all accompanying documents within five (5) business days to
CookFilterMDL@FaegreBD.com. If the documents are too large to send as attachments to an e-
mail please submit them using the following Secure File Transfer site:
https://sft.faegrebd.com/envelope/CookFilterMDL. If you fail to submit a PPS within the five (5)
days, Cook may move to dismiss Plaintiff’s case.
 Case 1:14-ml-02570-RLY-TAB Document 7600-2 Filed 02/01/18 Page 7 of 69 PageID #:
Roland K. Tellis                    41054
                                      -2-                             1/24/2018



Very truly yours,




Angela Kelver Hall


Cc:   Michael Heaviside - mheaviside@hrzlaw.com
      Ben Martin – bmartin@bencmartin.com
      David Matthews – dmatthews@thematthewslawfirm.com
Case 1:14-ml-02570-RLY-TAB Document 7600-2 Filed 02/01/18 Page 8 of 69 PageID #:
                                   41055



                   IN THE UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF INDIANA
                           INDIANAPOLIS DIVISION

 ___________________________________________

 IN RE COOK MEDICAL, INC., IVC FILTERS
 MARKETING, SALES PRACTICES AND                   Case No. 1:14-ml-2570-RLY-TAB
 PRODUCTS LIABILITY LITIGATION                    MDL No. 2570
 ___________________________________________

                      EXHIBIT B TO MOTION TO DISMISS
                             NOTICE LETTERS

                                  Sub-Exhibit 3




 US.116196584.01
 Case 1:14-ml-02570-RLY-TAB Document 7600-2 Filed 02/01/18 Page 9 of 69 PageID #:
                                    41056




Angela Kelver Hall                                                                Faegre Baker Daniels LLP
angela.hall@FaegreBD.com                                                 300 N. Meridian Street  Suite 2700
Direct 574.239.1903                                                       Indianapolis  Indiana 46204-1750
                                                                                    Phone +1 317 237 0300
                                                                                        Fax +1 317 237 1000



January 24, 2018


VIA E-MAIL AND FIRST CLASS MAIL
                                                                         For MDL Plaintiffs
Blair B. Matyszczyk
BERTRAM & GRAF, L.L.C.
4717 Grand Avenue
Suite 800
Kansas City, MO 64112
blair@bertramgraf.com; afeliciano@bertramgraf.com

       Re:       Cook MDL Plaintiff Profile Deficiency

Dear Blair B. Matyszczyk:
According to our records, we have not received the Plaintiff Profile Sheet for the following
Plaintiffs:

             •   Frey, Steve
             •   Harbert, Kevin J.
             •   Pierson, Jermaine
             •   Rettger, Michael A.
             •   Strong, Margo S.
             •   York-Leskiw, Kelly Ann

Pursuant to Third Amended Case Management Order No. 4 (CMO No. 4), Cook may move to
dismiss Plaintiff’s case without prejudice for failure to timely submit a PPS.
Please submit Plaintiff’s PPS and all accompanying documents within five (5) business days to
CookFilterMDL@FaegreBD.com. If the documents are too large to send as attachments to an e-
mail please submit them using the following Secure File Transfer site:
https://sft.faegrebd.com/envelope/CookFilterMDL. If you fail to submit a PPS within the five (5)
days, Cook may move to dismiss Plaintiff’s case.
Case 1:14-ml-02570-RLY-TAB Document 7600-2 Filed 02/01/18 Page 10 of 69 PageID #:
Blair B. Matyszczyk                 41057
                                     -2-                             1/24/2018


Very truly yours,




Angela Kelver Hall


Cc:   Michael Heaviside - mheaviside@hrzlaw.com
      Ben Martin – bmartin@bencmartin.com
      David Matthews – dmatthews@thematthewslawfirm.com
Case 1:14-ml-02570-RLY-TAB Document 7600-2 Filed 02/01/18 Page 11 of 69 PageID #:
                                    41058



                    IN THE UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF INDIANA
                            INDIANAPOLIS DIVISION

  ___________________________________________

  IN RE COOK MEDICAL, INC., IVC FILTERS
  MARKETING, SALES PRACTICES AND                   Case No. 1:14-ml-2570-RLY-TAB
  PRODUCTS LIABILITY LITIGATION                    MDL No. 2570
  ___________________________________________

                       EXHIBIT B TO MOTION TO DISMISS
                              NOTICE LETTERS

                                   Sub-Exhibit 4




  US.116196584.01
Case 1:14-ml-02570-RLY-TAB Document 7600-2 Filed 02/01/18 Page 12 of 69 PageID #:
                                    41059




Angela Kelver Hall                                                              Faegre Baker Daniels LLP
angela.hall@FaegreBD.com                                               300 N. Meridian Street  Suite 2700
Direct 574.239.1903                                                     Indianapolis  Indiana 46204-1750
                                                                                  Phone +1 317 237 0300
                                                                                      Fax +1 317 237 1000



January 24, 2018


VIA E-MAIL AND FIRST CLASS MAIL
                                                                       For MDL Plaintiffs
Edward Blizzard
BLIZZARD & NABERS, L.L.P
440 Louisiana
Suite 170
Houston, TX 77002
eblizzard@blizzardlaw.com

       Re:      Cook MDL – Failure to Timely Submit Plaintiff Profile Sheet

Dear Edward Blizzard:
According to our records, we have not received the Plaintiff Profile Sheet for Farris, Angela
(“Plaintiff”). Pursuant to Third Amended Case Management Order No. 4 (CMO No. 4), Cook may
move to dismiss Plaintiff’s case without prejudice for failure to timely submit a PPS.
Please submit Plaintiff’s PPS and all accompanying documents within five (5) business days to
CookFilterMDL@FaegreBD.com. If the documents are too large to send as attachments to an e-
mail please submit them using the following Secure File Transfer site:
https://sft.faegrebd.com/envelope/CookFilterMDL. If you fail to submit a PPS within the five (5)
days, Cook may move to dismiss Plaintiff’s case.
Very truly yours,




Angela Kelver Hall


Cc:    Michael Heaviside - mheaviside@hrzlaw.com
       Ben Martin – bmartin@bencmartin.com
       David Matthews – dmatthews@thematthewslawfirm.com
Case 1:14-ml-02570-RLY-TAB Document 7600-2 Filed 02/01/18 Page 13 of 69 PageID #:
                                    41060



                    IN THE UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF INDIANA
                            INDIANAPOLIS DIVISION

  ___________________________________________

  IN RE COOK MEDICAL, INC., IVC FILTERS
  MARKETING, SALES PRACTICES AND                   Case No. 1:14-ml-2570-RLY-TAB
  PRODUCTS LIABILITY LITIGATION                    MDL No. 2570
  ___________________________________________

                       EXHIBIT B TO MOTION TO DISMISS
                              NOTICE LETTERS

                                   Sub-Exhibit 5




  US.116196584.01
Case 1:14-ml-02570-RLY-TAB Document 7600-2 Filed 02/01/18 Page 14 of 69 PageID #:
                                    41061




Angela Kelver Hall                                                                Faegre Baker Daniels LLP
angela.hall@FaegreBD.com                                                 300 N. Meridian Street  Suite 2700
Direct 574.239.1903                                                       Indianapolis  Indiana 46204-1750
                                                                                    Phone +1 317 237 0300
                                                                                        Fax +1 317 237 1000



January 24, 2018


VIA E-MAIL AND FIRST CLASS MAIL
                                                                         For MDL Plaintiffs
Troy Brenes
BRENES LAW GROUP
16A Journey
Suite 200
Aliso Viejo, CA 92656
tbrenes@breneslawgroup.com

       Re:       Cook MDL Plaintiff Profile Deficiency

Dear Troy Brenes:
According to our records, we have not received the Plaintiff Profile Sheet for the following
Plaintiffs:

             •   Markham, Currie
             •   Osorio, Maria

Pursuant to Third Amended Case Management Order No. 4 (CMO No. 4), Cook may move to
dismiss Plaintiff’s case without prejudice for failure to timely submit a PPS.
Please submit Plaintiff’s PPS and all accompanying documents within five (5) business days to
CookFilterMDL@FaegreBD.com. If the documents are too large to send as attachments to an e-
mail please submit them using the following Secure File Transfer site:
https://sft.faegrebd.com/envelope/CookFilterMDL. If you fail to submit a PPS within the five (5)
days, Cook may move to dismiss Plaintiff’s case.


Very truly yours,




Angela Kelver Hall
Case 1:14-ml-02570-RLY-TAB Document 7600-2 Filed 02/01/18 Page 15 of 69 PageID #:
Troy Brenes                         41062
                                     -2-                             1/24/2018


Cc:   Michael Heaviside - mheaviside@hrzlaw.com
      Ben Martin – bmartin@bencmartin.com
      David Matthews – dmatthews@thematthewslawfirm.com
Case 1:14-ml-02570-RLY-TAB Document 7600-2 Filed 02/01/18 Page 16 of 69 PageID #:
                                    41063



                    IN THE UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF INDIANA
                            INDIANAPOLIS DIVISION

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  IN RE COOK MEDICAL, INC., IVC FILTERS
  MARKETING, SALES PRACTICES AND                   Case No. 1:14-ml-2570-RLY-TAB
  PRODUCTS LIABILITY LITIGATION                    MDL No. 2570
  ___________________________________________

                       EXHIBIT B TO MOTION TO DISMISS
                              NOTICE LETTERS

                                   Sub-Exhibit 6




  US.116196584.01
Case 1:14-ml-02570-RLY-TAB Document 7600-2 Filed 02/01/18 Page 17 of 69 PageID #:
                                    41064




Angela Kelver Hall                                                                Faegre Baker Daniels LLP
angela.hall@FaegreBD.com                                                 300 N. Meridian Street  Suite 2700
Direct 574.239.1903                                                       Indianapolis  Indiana 46204-1750
                                                                                    Phone +1 317 237 0300
                                                                                        Fax +1 317 237 1000



January 24, 2018


VIA E-MAIL AND FIRST CLASS MAIL
                                                                         For MDL Plaintiffs
William B. Curtis
CURTIS LAW GROUP
12225 Greenville Ave.
Suite 750
Dallas, TX 75243
bcurtis@curtis-lawgroup.com; JGomez@Curtis-LawGroup.com

       Re:       Cook MDL Plaintiff Profile Deficiency

Dear William B. Curtis:
According to our records, we have not received the Plaintiff Profile Sheet for the following
Plaintiffs:

             •   Alger, Lessie
             •   Allen, Catherine
             •   Baker, Jason
             •   Bryant, John
             •   Clark, Lorraine
             •   Cleek, Michael
             •   Cooper, Chris
             •   Cordar, Johnny
             •   Dumont, Paul
             •   Everly, Gary
             •   Fissell, Deborah
             •   Furney, Sherri
             •   Hampton, Linda
             •   Hanf, Janie
             •   Kimbell, Candy
Case 1:14-ml-02570-RLY-TAB Document 7600-2 Filed 02/01/18 Page 18 of 69 PageID #:
William B. Curtis                   41065
                                     -2-                             1/24/2018

          •   Lamprey, Melissa
          •   Lindy, Joanne
          •   McCoy, Nasir
          •   Moore, Kelly
          •   Myers, Russell
          •   O'Neal, Danny
          •   Owens, Alaimo
          •   Perry, Dolly
          •   Ramsey, Lonnie
          •   Rawls, Sharon
          •   Redman, Kathleen
          •   Schoby, Louise
          •   Shaikh, Nisar
          •   Starr, John
          •   Turner, Larry
          •   Walter, Nancy
          •   Williams, Christie
          •   Ziaja, Paul

Pursuant to Third Amended Case Management Order No. 4 (CMO No. 4), Cook may move to
dismiss Plaintiff’s case without prejudice for failure to timely submit a PPS.
Please submit Plaintiff’s PPS and all accompanying documents within five (5) business days to
CookFilterMDL@FaegreBD.com. If the documents are too large to send as attachments to an e-
mail please submit them using the following Secure File Transfer site:
https://sft.faegrebd.com/envelope/CookFilterMDL. If you fail to submit a PPS within the five (5)
days, Cook may move to dismiss Plaintiff’s case.


Very truly yours,




Angela Kelver Hall


Cc:   Michael Heaviside - mheaviside@hrzlaw.com
      Ben Martin – bmartin@bencmartin.com
      David Matthews – dmatthews@thematthewslawfirm.com
Case 1:14-ml-02570-RLY-TAB Document 7600-2 Filed 02/01/18 Page 19 of 69 PageID #:
                                    41066



                    IN THE UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF INDIANA
                            INDIANAPOLIS DIVISION

  ___________________________________________

  IN RE COOK MEDICAL, INC., IVC FILTERS
  MARKETING, SALES PRACTICES AND                   Case No. 1:14-ml-2570-RLY-TAB
  PRODUCTS LIABILITY LITIGATION                    MDL No. 2570
  ___________________________________________

                       EXHIBIT B TO MOTION TO DISMISS
                              NOTICE LETTERS

                                   Sub-Exhibit 7




  US.116196584.01
Case 1:14-ml-02570-RLY-TAB Document 7600-2 Filed 02/01/18 Page 20 of 69 PageID #:
                                    41067




Angela Kelver Hall                                                                Faegre Baker Daniels LLP
angela.hall@FaegreBD.com                                                 300 N. Meridian Street  Suite 2700
Direct 574.239.1903                                                       Indianapolis  Indiana 46204-1750
                                                                                    Phone +1 317 237 0300
                                                                                        Fax +1 317 237 1000



January 24, 2018


VIA E-MAIL AND FIRST CLASS MAIL
                                                                         For MDL Plaintiffs
John A. Dalimonte
DALIMONTE RUEB LAW GROUP, LLP
85 Devonshire Street
Suite 1000
Boston, MA 02109
john@drlawllp.com

       Re:       Cook MDL Plaintiff Profile Deficiency

Dear John A. Dalimonte:
According to our records, we have not received the Plaintiff Profile Sheet for the following
Plaintiffs:

             •   Insley, Thomas B. Sr.
             •   Walton, Koula M. [ESTATE]
             •   Wynkoop, Shannon

Pursuant to Third Amended Case Management Order No. 4 (CMO No. 4), Cook may move to
dismiss Plaintiff’s case without prejudice for failure to timely submit a PPS.
Please submit Plaintiff’s PPS and all accompanying documents within five (5) business days to
CookFilterMDL@FaegreBD.com. If the documents are too large to send as attachments to an e-
mail please submit them using the following Secure File Transfer site:
https://sft.faegrebd.com/envelope/CookFilterMDL. If you fail to submit a PPS within the five (5)
days, Cook may move to dismiss Plaintiff’s case.


Very truly yours,




Angela Kelver Hall
Case 1:14-ml-02570-RLY-TAB Document 7600-2 Filed 02/01/18 Page 21 of 69 PageID #:
John A. Dalimonte                   41068
                                     -2-                             1/24/2018



Cc:   Michael Heaviside - mheaviside@hrzlaw.com
      Ben Martin – bmartin@bencmartin.com
      David Matthews – dmatthews@thematthewslawfirm.com
Case 1:14-ml-02570-RLY-TAB Document 7600-2 Filed 02/01/18 Page 22 of 69 PageID #:
                                    41069



                    IN THE UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF INDIANA
                            INDIANAPOLIS DIVISION

  ___________________________________________

  IN RE COOK MEDICAL, INC., IVC FILTERS
  MARKETING, SALES PRACTICES AND                   Case No. 1:14-ml-2570-RLY-TAB
  PRODUCTS LIABILITY LITIGATION                    MDL No. 2570
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                       EXHIBIT B TO MOTION TO DISMISS
                              NOTICE LETTERS

                                   Sub-Exhibit 8




  US.116196584.01
Case 1:14-ml-02570-RLY-TAB Document 7600-2 Filed 02/01/18 Page 23 of 69 PageID #:
                                    41070




Angela Kelver Hall                                                                Faegre Baker Daniels LLP
angela.hall@FaegreBD.com                                                 300 N. Meridian Street  Suite 2700
Direct 574.239.1903                                                       Indianapolis  Indiana 46204-1750
                                                                                    Phone +1 317 237 0300
                                                                                        Fax +1 317 237 1000



January 24, 2018


VIA E-MAIL AND FIRST CLASS MAIL
                                                                         For MDL Plaintiffs
Andrew William Callahan
FLINT LAW FIRM, LLC
222 East Park Street
Suite 500
Edwardsville, IL 62025
acallahan@flintfirm.com; susie@flintlaw.com

       Re:      Cook MDL – Failure to Timely Submit Plaintiff Profile Sheet

Dear Andrew William Callahan:
According to our records, we have not received the Plaintiff Profile Sheet for Perkovich, Jennifer
and Paul (“Plaintiff”). Pursuant to Third Amended Case Management Order No. 4 (CMO No. 4),
Cook may move to dismiss Plaintiff’s case without prejudice for failure to timely submit a PPS.
Please submit Plaintiff’s PPS and all accompanying documents within five (5) business days to
CookFilterMDL@FaegreBD.com. If the documents are too large to send as attachments to an e-
mail please submit them using the following Secure File Transfer site:
https://sft.faegrebd.com/envelope/CookFilterMDL. If you fail to submit a PPS within the five (5)
days, Cook may move to dismiss Plaintiff’s case.
Very truly yours,




Angela Kelver Hall


Cc:    Michael Heaviside - mheaviside@hrzlaw.com
       Ben Martin – bmartin@bencmartin.com
       David Matthews – dmatthews@thematthewslawfirm.com
Case 1:14-ml-02570-RLY-TAB Document 7600-2 Filed 02/01/18 Page 24 of 69 PageID #:
                                    41071



                    IN THE UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF INDIANA
                            INDIANAPOLIS DIVISION

  ___________________________________________

  IN RE COOK MEDICAL, INC., IVC FILTERS
  MARKETING, SALES PRACTICES AND                   Case No. 1:14-ml-2570-RLY-TAB
  PRODUCTS LIABILITY LITIGATION                    MDL No. 2570
  ___________________________________________

                       EXHIBIT B TO MOTION TO DISMISS
                              NOTICE LETTERS

                                   Sub-Exhibit 9




  US.116196584.01
Case 1:14-ml-02570-RLY-TAB Document 7600-2 Filed 02/01/18 Page 25 of 69 PageID #:
                                    41072




Angela Kelver Hall                                                              Faegre Baker Daniels LLP
angela.hall@FaegreBD.com                                               300 N. Meridian Street  Suite 2700
Direct 574.239.1903                                                     Indianapolis  Indiana 46204-1750
                                                                                  Phone +1 317 237 0300
                                                                                      Fax +1 317 237 1000



January 24, 2018


VIA E-MAIL AND FIRST CLASS MAIL
                                                                       For MDL Plaintiffs
Robert J. McLaughlin
HART MCLAUGHLIN & ELDRIDGE, LLC
121 Wacker Dr.
Suite 1050
Chicago, IL 60601
adammann@hmelegal.com

       Re:      Cook MDL – Failure to Timely Submit Plaintiff Profile Sheet

Dear Robert J. McLaughlin:
According to our records, we have not received the Plaintiff Profile Sheet for Foote, Tammara
(“Plaintiff”). Pursuant to Third Amended Case Management Order No. 4 (CMO No. 4), Cook may
move to dismiss Plaintiff’s case without prejudice for failure to timely submit a PPS.
Please submit Plaintiff’s PPS and all accompanying documents within five (5) business days to
CookFilterMDL@FaegreBD.com. If the documents are too large to send as attachments to an e-
mail please submit them using the following Secure File Transfer site:
https://sft.faegrebd.com/envelope/CookFilterMDL. If you fail to submit a PPS within the five (5)
days, Cook may move to dismiss Plaintiff’s case.
Very truly yours,




Angela Kelver Hall


Cc:    Michael Heaviside - mheaviside@hrzlaw.com
       Ben Martin – bmartin@bencmartin.com
       David Matthews – dmatthews@thematthewslawfirm.com
Case 1:14-ml-02570-RLY-TAB Document 7600-2 Filed 02/01/18 Page 26 of 69 PageID #:
                                    41073



                    IN THE UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF INDIANA
                            INDIANAPOLIS DIVISION

  ___________________________________________

  IN RE COOK MEDICAL, INC., IVC FILTERS
  MARKETING, SALES PRACTICES AND                   Case No. 1:14-ml-2570-RLY-TAB
  PRODUCTS LIABILITY LITIGATION                    MDL No. 2570
  ___________________________________________

                       EXHIBIT B TO MOTION TO DISMISS
                              NOTICE LETTERS

                                  Sub-Exhibit 10




  US.116196584.01
Case 1:14-ml-02570-RLY-TAB Document 7600-2 Filed 02/01/18 Page 27 of 69 PageID #:
                                    41074




Angela Kelver Hall                                                                Faegre Baker Daniels LLP
angela.hall@FaegreBD.com                                                 300 N. Meridian Street  Suite 2700
Direct 574.239.1903                                                       Indianapolis  Indiana 46204-1750
                                                                                    Phone +1 317 237 0300
                                                                                        Fax +1 317 237 1000



January 24, 2018


VIA E-MAIL AND FIRST CLASS MAIL
                                                                         For MDL Plaintiffs
Jennifer Nolte Williams
JACKSON ALLEN & WILLIAMS, LLP
3838 Oak Lawn Ave.
Suite 1100
Dallas, TX 75219
jwilliams@jacksonallenfirm.com

       Re:       Cook MDL Plaintiff Profile Deficiency

Dear Jennifer Nolte Williams:
According to our records, we have not received the Plaintiff Profile Sheet for the following
Plaintiffs:

             •   Resino, Deborah
             •   Sollo, Florence

Pursuant to Third Amended Case Management Order No. 4 (CMO No. 4), Cook may move to
dismiss Plaintiff’s case without prejudice for failure to timely submit a PPS.
Please submit Plaintiff’s PPS and all accompanying documents within five (5) business days to
CookFilterMDL@FaegreBD.com. If the documents are too large to send as attachments to an e-
mail please submit them using the following Secure File Transfer site:
https://sft.faegrebd.com/envelope/CookFilterMDL. If you fail to submit a PPS within the five (5)
days, Cook may move to dismiss Plaintiff’s case.


Very truly yours,




Angela Kelver Hall
Case 1:14-ml-02570-RLY-TAB Document 7600-2 Filed 02/01/18 Page 28 of 69 PageID #:
Jennifer Nolte Williams             41075
                                     -2-                             1/24/2018


Cc:   Michael Heaviside - mheaviside@hrzlaw.com
      Ben Martin – bmartin@bencmartin.com
      David Matthews – dmatthews@thematthewslawfirm.com
Case 1:14-ml-02570-RLY-TAB Document 7600-2 Filed 02/01/18 Page 29 of 69 PageID #:
                                    41076



                    IN THE UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF INDIANA
                            INDIANAPOLIS DIVISION

  ___________________________________________

  IN RE COOK MEDICAL, INC., IVC FILTERS
  MARKETING, SALES PRACTICES AND                   Case No. 1:14-ml-2570-RLY-TAB
  PRODUCTS LIABILITY LITIGATION                    MDL No. 2570
  ___________________________________________

                       EXHIBIT B TO MOTION TO DISMISS
                              NOTICE LETTERS

                                  Sub-Exhibit 11




  US.116196584.01
Case 1:14-ml-02570-RLY-TAB Document 7600-2 Filed 02/01/18 Page 30 of 69 PageID #:
                                    41077




Angela Kelver Hall                                                                Faegre Baker Daniels LLP
angela.hall@FaegreBD.com                                                 300 N. Meridian Street  Suite 2700
Direct 574.239.1903                                                       Indianapolis  Indiana 46204-1750
                                                                                    Phone +1 317 237 0300
                                                                                        Fax +1 317 237 1000



January 24, 2018


VIA E-MAIL AND FIRST CLASS MAIL
                                                                         For MDL Plaintiffs
Matthew R. Lopez
LOPEZ MCHUGH LLP
100 Bayview Circle
Suite 5600
Newport Beach, CA 92660
mlopez@lopezmchugh.com; ALopez@lopezmchugh.com;
mjones@lopezmchugh.com; rlopez@lopezmchugh.com

       Re:       Cook MDL Plaintiff Profile Deficiency

Dear Matthew R. Lopez:
According to our records, we have not received the Plaintiff Profile Sheet for the following
Plaintiffs:

             •   Acosta, Michelle
             •   Boatwright-Woods, Mary
             •   Cheung, Richard [ESTATE]
             •   Fallis, Joshua & Kimberly
             •   Hutchinson, Sharon Ann
             •   Kenyon, Patrick
             •   Little, Joey
             •   Pearlman, Barbara

Pursuant to Third Amended Case Management Order No. 4 (CMO No. 4), Cook may move to
dismiss Plaintiff’s case without prejudice for failure to timely submit a PPS.
Please submit Plaintiff’s PPS and all accompanying documents within five (5) business days to
CookFilterMDL@FaegreBD.com. If the documents are too large to send as attachments to an e-
mail please submit them using the following Secure File Transfer site:
https://sft.faegrebd.com/envelope/CookFilterMDL. If you fail to submit a PPS within the five (5)
Case 1:14-ml-02570-RLY-TAB Document 7600-2 Filed 02/01/18 Page 31 of 69 PageID #:
Matthew R. Lopez                    41078
                                     -2-                             1/24/2018


days, Cook may move to dismiss Plaintiff’s case.


Very truly yours,




Angela Kelver Hall


Cc:   Michael Heaviside - mheaviside@hrzlaw.com
      Ben Martin – bmartin@bencmartin.com
      David Matthews – dmatthews@thematthewslawfirm.com
Case 1:14-ml-02570-RLY-TAB Document 7600-2 Filed 02/01/18 Page 32 of 69 PageID #:
                                    41079



                    IN THE UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF INDIANA
                            INDIANAPOLIS DIVISION

  ___________________________________________

  IN RE COOK MEDICAL, INC., IVC FILTERS
  MARKETING, SALES PRACTICES AND                   Case No. 1:14-ml-2570-RLY-TAB
  PRODUCTS LIABILITY LITIGATION                    MDL No. 2570
  ___________________________________________

                       EXHIBIT B TO MOTION TO DISMISS
                              NOTICE LETTERS

                                  Sub-Exhibit 12




  US.116196584.01
Case 1:14-ml-02570-RLY-TAB Document 7600-2 Filed 02/01/18 Page 33 of 69 PageID #:
                                    41080




Angela Kelver Hall                                                                Faegre Baker Daniels LLP
angela.hall@FaegreBD.com                                                 300 N. Meridian Street  Suite 2700
Direct 574.239.1903                                                       Indianapolis  Indiana 46204-1750
                                                                                    Phone +1 317 237 0300
                                                                                        Fax +1 317 237 1000



January 24, 2018


VIA E-MAIL AND FIRST CLASS MAIL
                                                                         For MDL Plaintiffs
Debra J. Humphrey
MARC J. BERN & PARTNERS, LLP
60 East 42nd St.
Suite 950
New York, NY 10165
Dhumphrey@bernllp.com

       Re:       Cook MDL Plaintiff Profile Deficiency

Dear Debra J. Humphrey:
According to our records, we have not received the Plaintiff Profile Sheet for the following
Plaintiffs:

             •   Alvey, Linda
             •   Arthur, John
             •   Bailey, Misty D.
             •   Bailey, Monique
             •   Bell, Samuel
             •   Betters, Alice
             •   Blair, Mary Lou
             •   Blake, Tamera
             •   Bowman, Rebecca
             •   Bradford, Annie
             •   Brown, Ezill
             •   Brown, Marie Mae [ESTATE]
             •   Brown, Michael
             •   Bullock, Joanne
             •   Butske, David
Case 1:14-ml-02570-RLY-TAB Document 7600-2 Filed 02/01/18 Page 34 of 69 PageID #:
Debra J. Humphrey                   41081
                                     -2-                             1/24/2018

        •   Calloway, Loretta
        •   Champion, John B.
        •   Clark, Ozell
        •   Clayton, Pamela
        •   Clemens, Donna
        •   Coats, Rosalie A.
        •   Copeland, Marquita
        •   Corley, Omel
        •   Crawford, Stephen
        •   Dantzler, Dorothy
        •   Davenport, Mabel
        •   Davis, Anthony
        •   Davis, Jessie
        •   Davis, Loretta
        •   Dellagatta, Donnie
        •   Denton, Archie
        •   Dupree, Lori
        •   Dwyer-Coco, Patricia
        •   Edgington, Anna
        •   Elamine, Kathy
        •   Estes, Betty
        •   Fisher, Mary J.
        •   Flowers, Tonya
        •   Folts, Terry
        •   Gaddis, Yvette D.
        •   Gause, Gary
        •   Gilligan, Susanne
        •   Goodman, Valerie
        •   Gray, Lee D.
        •   Griffin, Dock
        •   Hall, Stephen E.
        •   Harlow, Wanda
        •   Harris, Douglas
        •   Holmes, Angelee
        •   Howard, Devin
        •   Husman, Raymond
        •   Jackson, Felicia
        •   Jenville, Gloria
Case 1:14-ml-02570-RLY-TAB Document 7600-2 Filed 02/01/18 Page 35 of 69 PageID #:
Debra J. Humphrey                   41082
                                     -3-                             1/24/2018

        •   Johnson, Phyllis
        •   Jones, Charlie
        •   Jones, Milton D. III
        •   Karnes, Denise M.
        •   Kasten, Michael J.
        •   Kenney, Wallace
        •   Kiggins, Kim
        •   Levy, Charles
        •   Luzinski, Fred
        •   Maddelein, Susan
        •   Malphus, Milton
        •   Marks, Mary E.
        •   Mayberry, Walter
        •   McIntosh, Betty
        •   Miele, Laura
        •   Miller, Merri
        •   Mincy, Doris
        •   Mitchell, Sarah
        •   Moore, Walter
        •   Myers, Sebrina
        •   Nancarrow, Tracey
        •   Neveu, Janice M.
        •   Nigh, Glendora
        •   Oltromonto, Anthony
        •   Palmer, Kayla
        •   Pantone, Guy
        •   Parker, Sandra
        •   Parks, Jason
        •   Phelps, Maurice
        •   Phillippi, William R. [ESTATE]
        •   Pitts, Earline
        •   Ranson, Elizabeth
        •   Reaves, Andrew
        •   Redd, Cynthia
        •   Redmond, Kimberly
        •   Richardson, Khalia
        •   Ricks, Erica
        •   Riggins, Sylvia
Case 1:14-ml-02570-RLY-TAB Document 7600-2 Filed 02/01/18 Page 36 of 69 PageID #:
Debra J. Humphrey                   41083
                                     -4-                             1/24/2018

          •   Robinson, Kim
          •   Schleigh, Kimberly A.
          •   Seither, Donna L.
          •   Sheals, Robert
          •   Shelton, Janice
          •   Shern, Phillip J.
          •   Sherod, Annie
          •   Shook, Carol
          •   Spruill, Henry
          •   Steed, Cheryl
          •   Stewart, Monica
          •   Stone, Cathy J.
          •   Stovall, Keyonna
          •   Sufka, Reuben
          •   Sunnenberg, Kathryn S.
          •   Sutton, Jimmy Lee
          •   Taylor, Sharon
          •   Thomas, Cheryl
          •   Turner, Anita
          •   Valentine, William
          •   Vincigerra, Sussana
          •   Walden, Sally
          •   Wall, Vernon E.
          •   Wallace, Daron
          •   Walters, Donna
          •   Walters, Patricia
          •   Whitson, Sylvia
          •   Williams, Daniel C.
          •   Williams, Lee
          •   Wood, Ronald F.
          •   Woods, Lisa J.
          •   Worthington, Tina
          •   Young, Roger

Pursuant to Third Amended Case Management Order No. 4 (CMO No. 4), Cook may move to
dismiss Plaintiff’s case without prejudice for failure to timely submit a PPS.
Please submit Plaintiff’s PPS and all accompanying documents within five (5) business days to
CookFilterMDL@FaegreBD.com. If the documents are too large to send as attachments to an e-
mail please submit them using the following Secure File Transfer site:
Case 1:14-ml-02570-RLY-TAB Document 7600-2 Filed 02/01/18 Page 37 of 69 PageID #:
Debra J. Humphrey                   41084
                                     -5-                             1/24/2018


https://sft.faegrebd.com/envelope/CookFilterMDL. If you fail to submit a PPS within the five (5)
days, Cook may move to dismiss Plaintiff’s case.


Very truly yours,




Angela Kelver Hall


Cc:   Michael Heaviside - mheaviside@hrzlaw.com
      Ben Martin – bmartin@bencmartin.com
      David Matthews – dmatthews@thematthewslawfirm.com
Case 1:14-ml-02570-RLY-TAB Document 7600-2 Filed 02/01/18 Page 38 of 69 PageID #:
                                    41085



                    IN THE UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF INDIANA
                            INDIANAPOLIS DIVISION

  ___________________________________________

  IN RE COOK MEDICAL, INC., IVC FILTERS
  MARKETING, SALES PRACTICES AND                   Case No. 1:14-ml-2570-RLY-TAB
  PRODUCTS LIABILITY LITIGATION                    MDL No. 2570
  ___________________________________________

                       EXHIBIT B TO MOTION TO DISMISS
                              NOTICE LETTERS

                                  Sub-Exhibit 13




  US.116196584.01
Case 1:14-ml-02570-RLY-TAB Document 7600-2 Filed 02/01/18 Page 39 of 69 PageID #:
                                    41086




Angela Kelver Hall                                                                Faegre Baker Daniels LLP
angela.hall@FaegreBD.com                                                 300 N. Meridian Street  Suite 2700
Direct 574.239.1903                                                       Indianapolis  Indiana 46204-1750
                                                                                    Phone +1 317 237 0300
                                                                                        Fax +1 317 237 1000



January 24, 2018


VIA E-MAIL AND FIRST CLASS MAIL
                                                                         For MDL Plaintiffs
David P. Matthews
MATTHEWS & ASSOCIATES
2905 Sackett Street
Houston, TX 77098
matthewsivc@thematthewslawfirm.com;
lsantiago@thematthewslawfirm.com

       Re:       Cook MDL Plaintiff Profile Deficiency

Dear David P. Matthews:
According to our records, we have not received the Plaintiff Profile Sheet for the following
Plaintiffs:

             •   Albani, David J.
             •   Alexis, John J.
             •   Alhilali, Crystal
             •   Ammons, Elvid H.
             •   Anderson, Deloris
             •   Anthony, Joe
             •   Aprilah, Sandra
             •   Aultman, Ella F.
             •   Averett, Lloyd
             •   Ayala, Maria M.
             •   Bagley, Alfred
             •   Ball, James M.
             •   Ballaine, Colten
             •   Barbour, Melvin
             •   Barnwell, Arthur Sr.
Case 1:14-ml-02570-RLY-TAB Document 7600-2 Filed 02/01/18 Page 40 of 69 PageID #:
David P. Matthews                   41087
                                     -2-                             1/24/2018

        •   Barton, John J. III
        •   Beck, Cherie
        •   Behm, Clilfford
        •   Belloma, Richard A.
        •   Bender, Judy E.
        •   Benson, Susan M.
        •   Berry, Timothy D.
        •   Bialas, Monika H.
        •   Biggs, Paul K.
        •   Bishop, Charles L.
        •   Black, Lowan T.
        •   Booker, James D.
        •   Bowen, Kathleen M.
        •   Bowens, Jerome A.
        •   Boylan, James [ESTATE]
        •   Brandes, John
        •   Branham, Delphine R.
        •   Bredall, Susanne M.
        •   Brown, Kimberly T.
        •   Brown, Steve
        •   Brownlow, Gary
        •   Bryant, Beverly H.
        •   Bumpas,Stefani J.
        •   Burns, Donna J.
        •   Burpee, Patrick
        •   Burton, Fredrick T.
        •   Burton, Thomas
        •   Capone, Francis J.
        •   Carpenter, Conrad F.
        •   Caspoli, Marco E.
        •   Cates, John O.
        •   Centers, Garland
        •   Chatmon, Anthony B.
        •   Chesnutt, Michael D.
        •   Clark, Eric
        •   Clark, Sandra J.
        •   Coleman, Michelle N.
        •   Conlon, Kathy F.
Case 1:14-ml-02570-RLY-TAB Document 7600-2 Filed 02/01/18 Page 41 of 69 PageID #:
David P. Matthews                   41088
                                     -3-                             1/24/2018

        •   Cooper, Hurlie L.
        •   Cox, Alfred L. Jr.
        •   Criego, Rose Mary
        •   Croll, Birgit
        •   Cross, Merita B.
        •   Cuicio, Sam
        •   Cunningham, Joe Y. Jr.
        •   Dalrymple, Curt
        •   Dalton, Dan B.
        •   David, Cynthia A.
        •   Davis, Terry L. Jr.
        •   Dawson, Harry W.
        •   De Magana, Rosa Serrano
        •   DeStefano, Karol
        •   Dickey, Arnold A. Jr.
        •   Dickson, Janet S.
        •   Dolce, Jack S.
        •   Donnely, Stephen M.
        •   Dort, Scott E.
        •   Dupre, Gerard R.
        •   Dwebi, Linda J.
        •   Eaton, Jacqulyne G.
        •   Echevarria, Jose
        •   Edwards, Betty
        •   Eikleberry, Wanda M.
        •   Embrey, Tammy J.
        •   Farias, Edith C.
        •   Farmer, Joanne P.
        •   Felicello, Michael
        •   Fletcher, Donnie L.
        •   Flood, Denise R.
        •   Fontenot, Dorothy A.
        •   Freitas, Joshua F.
        •   Frobes, Denise M.
        •   Frodle, Kenet J.
        •   Frye, Stephen
        •   Fuller, Billy J.
        •   Gardner, Ebony
Case 1:14-ml-02570-RLY-TAB Document 7600-2 Filed 02/01/18 Page 42 of 69 PageID #:
David P. Matthews                   41089
                                     -4-                             1/24/2018

        •   Garner, Nancy
        •   Geissinger, Patricia A.
        •   Gentry, Herman
        •   Gerber, Edward D.
        •   Gillogly, Tim W.
        •   Glaude, Katrina
        •   Grant, Christopher E.
        •   Grimmett, Christopher L.
        •   Groves, Terron
        •   Haag, Marilyn
        •   Hairston, Harry D.
        •   Hale, Michael
        •   Hamersly, Timothy M.
        •   Hancock, Betty J.
        •   Hanon, Robert E.
        •   Harris, Charlie M.
        •   Harvey, Stephen L.
        •   Hawk, Derek A.
        •   Heinzel, Kurt W.
        •   Hensley, Kay M.
        •   Hillard, Lewis E.
        •   Hollis, Eddie C.
        •   Hooks, Alice F.
        •   Horton, Teresa
        •   Howard, Elaine Y.
        •   Howard, Maurice G.
        •   Hudson, Robert A.
        •   Ingram, Patrick
        •   Jackson, Ida H.
        •   Johnson, Tiffany L.
        •   Jones, Alicia M.
        •   Keenan, Carol
        •   Kelly-Hall, Cynthia T.
        •   Kemokai, Musu
        •   Killian, Marilyn E.
        •   King, Charisse
        •   King, Dorothy V.
        •   Kinney, Tiffany L.
Case 1:14-ml-02570-RLY-TAB Document 7600-2 Filed 02/01/18 Page 43 of 69 PageID #:
David P. Matthews                   41090
                                     -5-                             1/24/2018

        •   Klein, Kenneth R.
        •   Kleinschmidt, Timothy A.
        •   Knox, Harold E.
        •   Lambert, Johnnie R.
        •   Laughlin, Thurman E. Jr.
        •   Lewis, Carolyn
        •   Lewis-Prothro, Denise
        •   Loftis, John F.
        •   Longale, Ronald G.
        •   Lozano, Jorge A.
        •   Lunsford, Karen D.
        •   Macdonald, Liam
        •   Mack, Daniel A.
        •   Maier, Adolph
        •   Mathias, Lee E.
        •   Matson, Chad E.
        •   McCarty, Michelle
        •   McClure, Lisa
        •   McConito, Dorothy
        •   McCutchin, Judy G.
        •   McDowell, Steven
        •   McGhee, Dolores J.
        •   McKenzie, Geraldine
        •   McKown, Sherri C.
        •   Metz, Thomas G.
        •   Meyer, Lisa D.
        •   Miller, Suzanne
        •   Montgomery, Teresa R.
        •   Morin, Norman J.
        •   Mustardo, Robert
        •   Myers, Derrick
        •   Neely, Deon
        •   Noll, Robert E.
        •   Patterson, Douglas W.
        •   Pearson, Ernestine
        •   Pepper, Arlan G.
        •   Perez, Consuelo
        •   Peterson, Craig
Case 1:14-ml-02570-RLY-TAB Document 7600-2 Filed 02/01/18 Page 44 of 69 PageID #:
David P. Matthews                   41091
                                     -6-                             1/24/2018

        •   Phillips, Beatrice
        •   Phillips, Robert L.
        •   Pile, Andrew T.
        •   Pitts, Eileen
        •   Polk, Lewis
        •   Posy, Mirlande
        •   Potts, Lawrence A.
        •   Randle, Casell
        •   Rea, Julius A.
        •   Richardson, David L.
        •   Roper, Martin W.
        •   Roper, Olivia C.
        •   Rosales, Kelly D.
        •   Rumph, Kiimberly R.
        •   Ryans, Freddie
        •   Savarino, Lawrence A.
        •   Scaglione, Joseph L.
        •   Schaefer, Kristy M.
        •   Scheeringa, David M.
        •   Seay, Richard V.
        •   Sessa, Gaetano P.
        •   Shelley, Ida V.
        •   Sigur, Evelyn J.
        •   Skinner, Shelia M.
        •   Smith, Charlotte A.
        •   Smith, Richard J.
        •   Spaght, Melvin E.
        •   Teague, Ashley J.
        •   Thomas, Robert Jr.
        •   Thompson, Audrey A.
        •   Tramonte, Lorraine J.
        •   Trujillo, Michael
        •   Uhlinger, Donald
        •   Vazquez, Nixzaliz
        •   Vetter, Diana
        •   Waggle, Letha R.
        •   Warren, Larry D. Sr.
        •   Wheeler, Teja
Case 1:14-ml-02570-RLY-TAB Document 7600-2 Filed 02/01/18 Page 45 of 69 PageID #:
David P. Matthews                   41092
                                     -7-                             1/24/2018

          •   Whitaker, Marvin E.
          •   Williams, Cathey M.
          •   Wilson, Michael J.
          •   Wilson, Randall Lee
          •   Womack, Robert E.
          •   Yankowsky, Rusti
          •   Young, Robin S.
          •   Zina, Douglas J.

Pursuant to Third Amended Case Management Order No. 4 (CMO No. 4), Cook may move to
dismiss Plaintiff’s case without prejudice for failure to timely submit a PPS.
Please submit Plaintiff’s PPS and all accompanying documents within five (5) business days to
CookFilterMDL@FaegreBD.com. If the documents are too large to send as attachments to an e-
mail please submit them using the following Secure File Transfer site:
https://sft.faegrebd.com/envelope/CookFilterMDL. If you fail to submit a PPS within the five (5)
days, Cook may move to dismiss Plaintiff’s case.


Very truly yours,




Angela Kelver Hall

Cc:   Michael Heaviside - mheaviside@hrzlaw.com
      Ben Martin – bmartin@bencmartin.com
      David Matthews – dmatthews@thematthewslawfirm.com
Case 1:14-ml-02570-RLY-TAB Document 7600-2 Filed 02/01/18 Page 46 of 69 PageID #:
                                    41093



                    IN THE UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF INDIANA
                            INDIANAPOLIS DIVISION

  ___________________________________________

  IN RE COOK MEDICAL, INC., IVC FILTERS
  MARKETING, SALES PRACTICES AND                   Case No. 1:14-ml-2570-RLY-TAB
  PRODUCTS LIABILITY LITIGATION                    MDL No. 2570
  ___________________________________________

                       EXHIBIT B TO MOTION TO DISMISS
                              NOTICE LETTERS

                                  Sub-Exhibit 14




  US.116196584.01
Case 1:14-ml-02570-RLY-TAB Document 7600-2 Filed 02/01/18 Page 47 of 69 PageID #:
                                    41094




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angela.hall@FaegreBD.com                                                 300 N. Meridian Street  Suite 2700
Direct 574.239.1903                                                       Indianapolis  Indiana 46204-1750
                                                                                    Phone +1 317 237 0300
                                                                                        Fax +1 317 237 1000



January 24, 2018


VIA E-MAIL AND FIRST CLASS MAIL
                                                                         For MDL Plaintiffs
John C. Duane
MOTLEY RICE LLC
28 Bridgeside Boulevard
Mount Pleasant, SC 29466
jduane@motleyrice.com; clwhetstone@motleyrice.com

       Re:       Cook MDL Plaintiff Profile Deficiency

Dear John C. Duane:
According to our records, we have not received the Plaintiff Profile Sheet for the following
Plaintiffs:

             •   Arcand, Sandra and Arthur
             •   Crone, Charleen M. and Donald L.
             •   Franklin, Sharon H. & Paul A.
             •   Weber, Sheila [ESTATE]

Pursuant to Third Amended Case Management Order No. 4 (CMO No. 4), Cook may move to
dismiss Plaintiff’s case without prejudice for failure to timely submit a PPS.
Please submit Plaintiff’s PPS and all accompanying documents within five (5) business days to
CookFilterMDL@FaegreBD.com. If the documents are too large to send as attachments to an e-
mail please submit them using the following Secure File Transfer site:
https://sft.faegrebd.com/envelope/CookFilterMDL. If you fail to submit a PPS within the five (5)
days, Cook may move to dismiss Plaintiff’s case.
Case 1:14-ml-02570-RLY-TAB Document 7600-2 Filed 02/01/18 Page 48 of 69 PageID #:
John C. Duane                       41095
                                     -2-                             1/24/2018



Very truly yours,




Angela Kelver Hall


Cc:   Michael Heaviside - mheaviside@hrzlaw.com
      Ben Martin – bmartin@bencmartin.com
      David Matthews – dmatthews@thematthewslawfirm.com
Case 1:14-ml-02570-RLY-TAB Document 7600-2 Filed 02/01/18 Page 49 of 69 PageID #:
                                    41096



                    IN THE UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF INDIANA
                            INDIANAPOLIS DIVISION

  ___________________________________________

  IN RE COOK MEDICAL, INC., IVC FILTERS
  MARKETING, SALES PRACTICES AND                   Case No. 1:14-ml-2570-RLY-TAB
  PRODUCTS LIABILITY LITIGATION                    MDL No. 2570
  ___________________________________________

                       EXHIBIT B TO MOTION TO DISMISS
                              NOTICE LETTERS

                                  Sub-Exhibit 15




  US.116196584.01
Case 1:14-ml-02570-RLY-TAB Document 7600-2 Filed 02/01/18 Page 50 of 69 PageID #:
                                    41097




Angela Kelver Hall                                                                Faegre Baker Daniels LLP
angela.hall@FaegreBD.com                                                 300 N. Meridian Street  Suite 2700
Direct 574.239.1903                                                       Indianapolis  Indiana 46204-1750
                                                                                    Phone +1 317 237 0300
                                                                                        Fax +1 317 237 1000



January 24, 2018


VIA E-MAIL AND FIRST CLASS MAIL
                                                                         For MDL Plaintiffs
Richard J. Plezia
RICHARD J. PLEZIA & ASSOCIATES
2909 Hillcroft Ave.
Suite 575
Houston, TX 77057
rick@rplezialaw.com; thomas@rplezialaw.com

       Re:       Cook MDL Plaintiff Profile Deficiency

Dear Richard J. Plezia:
According to our records, we have not received the Plaintiff Profile Sheet for the following
Plaintiffs:

             •   Aberman, Brenda
             •   Anderson, Leonard
             •   Anderson, Timothy
             •   Burham, Barbara
             •   Campbell, Kristi
             •   Chan, Wayne
             •   Chester, Carl [ESTATE]
             •   De Leonard, Shirley and Richard
             •   Ellis, Randy
             •   Griggs, Carrie
             •   Jackson, Larry
             •   Miller, Dean
             •   Mull, Linda
             •   Ojeda, Aldeheid
             •   Pauley, Tressa
Case 1:14-ml-02570-RLY-TAB Document 7600-2 Filed 02/01/18 Page 51 of 69 PageID #:
Richard J. Plezia                   41098
                                     -2-                             1/24/2018

          •   Ricketts, Harold Jr.
          •   Vargas, Benito A.
          •   Wilson, Marie
          •   Wood, Margaret
          •   Zeck, Henry

Pursuant to Third Amended Case Management Order No. 4 (CMO No. 4), Cook may move to
dismiss Plaintiff’s case without prejudice for failure to timely submit a PPS.
Please submit Plaintiff’s PPS and all accompanying documents within five (5) business days to
CookFilterMDL@FaegreBD.com. If the documents are too large to send as attachments to an e-
mail please submit them using the following Secure File Transfer site:
https://sft.faegrebd.com/envelope/CookFilterMDL. If you fail to submit a PPS within the five (5)
days, Cook may move to dismiss Plaintiff’s case.


Very truly yours,




Angela Kelver Hall


Cc:   Michael Heaviside - mheaviside@hrzlaw.com
      Ben Martin – bmartin@bencmartin.com
      David Matthews – dmatthews@thematthewslawfirm.com
Case 1:14-ml-02570-RLY-TAB Document 7600-2 Filed 02/01/18 Page 52 of 69 PageID #:
                                    41099



                    IN THE UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF INDIANA
                            INDIANAPOLIS DIVISION

  ___________________________________________

  IN RE COOK MEDICAL, INC., IVC FILTERS
  MARKETING, SALES PRACTICES AND                   Case No. 1:14-ml-2570-RLY-TAB
  PRODUCTS LIABILITY LITIGATION                    MDL No. 2570
  ___________________________________________

                       EXHIBIT B TO MOTION TO DISMISS
                              NOTICE LETTERS

                                  Sub-Exhibit 16




  US.116196584.01
Case 1:14-ml-02570-RLY-TAB Document 7600-2 Filed 02/01/18 Page 53 of 69 PageID #:
                                    41100




Angela Kelver Hall                                                                Faegre Baker Daniels LLP
angela.hall@FaegreBD.com                                                 300 N. Meridian Street  Suite 2700
Direct 574.239.1903                                                       Indianapolis  Indiana 46204-1750
                                                                                    Phone +1 317 237 0300
                                                                                        Fax +1 317 237 1000



January 24, 2018


VIA E-MAIL AND FIRST CLASS MAIL
                                                                         For MDL Plaintiffs
Paul T. Boudreaux
RICHARDSON RICHARDSON BOUDREAUX
7447 South Lewis Avenue
Tulsa, OK 74136
paul@rrbok.com

       Re:       Cook MDL Plaintiff Profile Deficiency

Dear Paul T. Boudreaux:
According to our records, we have not received the Plaintiff Profile Sheet for the following
Plaintiffs:

             •   Ryon, Levi A.
             •   Ryon, Lloyd D.

Pursuant to Third Amended Case Management Order No. 4 (CMO No. 4), Cook may move to
dismiss Plaintiff’s case without prejudice for failure to timely submit a PPS.
Please submit Plaintiff’s PPS and all accompanying documents within five (5) business days to
CookFilterMDL@FaegreBD.com. If the documents are too large to send as attachments to an e-
mail please submit them using the following Secure File Transfer site:
https://sft.faegrebd.com/envelope/CookFilterMDL. If you fail to submit a PPS within the five (5)
days, Cook may move to dismiss Plaintiff’s case.


Very truly yours,




Angela Kelver Hall
Case 1:14-ml-02570-RLY-TAB Document 7600-2 Filed 02/01/18 Page 54 of 69 PageID #:
Paul T. Boudreaux                   41101
                                     -2-                             1/24/2018


Cc:   Michael Heaviside - mheaviside@hrzlaw.com
      Ben Martin – bmartin@bencmartin.com
      David Matthews – dmatthews@thematthewslawfirm.com
Case 1:14-ml-02570-RLY-TAB Document 7600-2 Filed 02/01/18 Page 55 of 69 PageID #:
                                    41102



                    IN THE UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF INDIANA
                            INDIANAPOLIS DIVISION

  ___________________________________________

  IN RE COOK MEDICAL, INC., IVC FILTERS
  MARKETING, SALES PRACTICES AND                   Case No. 1:14-ml-2570-RLY-TAB
  PRODUCTS LIABILITY LITIGATION                    MDL No. 2570
  ___________________________________________

                       EXHIBIT B TO MOTION TO DISMISS
                              NOTICE LETTERS

                                  Sub-Exhibit 17




  US.116196584.01
Case 1:14-ml-02570-RLY-TAB Document 7600-2 Filed 02/01/18 Page 56 of 69 PageID #:
                                    41103




Angela Kelver Hall                                                                Faegre Baker Daniels LLP
angela.hall@FaegreBD.com                                                 300 N. Meridian Street  Suite 2700
Direct 574.239.1903                                                       Indianapolis  Indiana 46204-1750
                                                                                    Phone +1 317 237 0300
                                                                                        Fax +1 317 237 1000



January 24, 2018


VIA E-MAIL AND FIRST CLASS MAIL
                                                                         For MDL Plaintiffs
Amy M. Carter
SIMON GREENSTONE PANATIER BARTLETT, P.C.
3232 McKinney Avenue, Suite 610
Dallas, TX 75204
acarter@sgpblaw.com

       Re:       Cook MDL Plaintiff Profile Deficiency

Dear Amy M. Carter:
According to our records, we have not received the Plaintiff Profile Sheet for the following
Plaintiffs:

             •   Allen, Ivy
             •   Smith-Salinas, Alicia

Pursuant to Third Amended Case Management Order No. 4 (CMO No. 4), Cook may move to
dismiss Plaintiff’s case without prejudice for failure to timely submit a PPS.
Please submit Plaintiff’s PPS and all accompanying documents within five (5) business days to
CookFilterMDL@FaegreBD.com. If the documents are too large to send as attachments to an e-
mail please submit them using the following Secure File Transfer site:
https://sft.faegrebd.com/envelope/CookFilterMDL. If you fail to submit a PPS within the five (5)
days, Cook may move to dismiss Plaintiff’s case.


Very truly yours,




Angela Kelver Hall
Case 1:14-ml-02570-RLY-TAB Document 7600-2 Filed 02/01/18 Page 57 of 69 PageID #:
Amy M. Carter                       41104
                                     -2-                             1/24/2018


Cc:   Michael Heaviside - mheaviside@hrzlaw.com
      Ben Martin – bmartin@bencmartin.com
      David Matthews – dmatthews@thematthewslawfirm.com
Case 1:14-ml-02570-RLY-TAB Document 7600-2 Filed 02/01/18 Page 58 of 69 PageID #:
                                    41105



                    IN THE UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF INDIANA
                            INDIANAPOLIS DIVISION

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  IN RE COOK MEDICAL, INC., IVC FILTERS
  MARKETING, SALES PRACTICES AND                   Case No. 1:14-ml-2570-RLY-TAB
  PRODUCTS LIABILITY LITIGATION                    MDL No. 2570
  ___________________________________________

                       EXHIBIT B TO MOTION TO DISMISS
                              NOTICE LETTERS

                                  Sub-Exhibit 18




  US.116196584.01
Case 1:14-ml-02570-RLY-TAB Document 7600-2 Filed 02/01/18 Page 59 of 69 PageID #:
                                    41106




Angela Kelver Hall                                                                Faegre Baker Daniels LLP
angela.hall@FaegreBD.com                                                 300 N. Meridian Street  Suite 2700
Direct 574.239.1903                                                       Indianapolis  Indiana 46204-1750
                                                                                    Phone +1 317 237 0300
                                                                                        Fax +1 317 237 1000



January 24, 2018


VIA E-MAIL AND FIRST CLASS MAIL
                                                                         For MDL Plaintiffs
John J. Driscoll
THE DRISCOLL FIRM, P.C.
211 N. Broadway, 40th Floor
St. Louis, MO 63102
john@thedriscollfirm.com; greg@thedriscollfirm.com

       Re:       Cook MDL Plaintiff Profile Deficiency

Dear John J. Driscoll:
According to our records, we have not received the Plaintiff Profile Sheet for the following
Plaintiffs:

             •   Aguilar, Alma Delia
             •   Allen, Lumas [ESTATE]
             •   Atkins, Anthony
             •   Barton, Stephanie N.
             •   Blankenship, Ronald Dale
             •   Bradley, Brinda
             •   Bryan, Lakeen F.
             •   Carter, Sandra Marie
             •   Chatman, Cedric N.
             •   Clay, Carolyn
             •   Collins, Cleona Mae
             •   Converse, John
             •   Ferriso, Frederick
             •   Gunther, Margaret P.
             •   Hawkins, Whitney
             •   Hedrick, Ethel Lorrina [ESTATE]
Case 1:14-ml-02570-RLY-TAB Document 7600-2 Filed 02/01/18 Page 60 of 69 PageID #:
John J. Driscoll                    41107
                                     -2-                             1/24/2018

          •   Hevener, Angela Korean
          •   Hurt, Cynthia
          •   Jackson, Frances [ESTATE]
          •   Johnson, Ronald D. [ESTATE]
          •   Knaflich, Janet
          •   McCoy, Veronique
          •   Moran, Laquita
          •   Porter, George N.
          •   Pursley, Keri
          •   Quinn, A'Keria Nicole
          •   Routh, Clarence
          •   Stout, Terri
          •   Taylor, Linda M.
          •   Turquitt, Michael W.
          •   Vaughn, James C
          •   Walker, Vanessa
          •   White, Kevin D.
          •   Woods, Brenda A.
          •   Yonts, Wanda A.

Pursuant to Third Amended Case Management Order No. 4 (CMO No. 4), Cook may move to
dismiss Plaintiff’s case without prejudice for failure to timely submit a PPS.
Please submit Plaintiff’s PPS and all accompanying documents within five (5) business days to
CookFilterMDL@FaegreBD.com. If the documents are too large to send as attachments to an e-
mail please submit them using the following Secure File Transfer site:
https://sft.faegrebd.com/envelope/CookFilterMDL. If you fail to submit a PPS within the five (5)
days, Cook may move to dismiss Plaintiff’s case.


Very truly yours,




Angela Kelver Hall


Cc:   Michael Heaviside - mheaviside@hrzlaw.com
      Ben Martin – bmartin@bencmartin.com
      David Matthews – dmatthews@thematthewslawfirm.com
Case 1:14-ml-02570-RLY-TAB Document 7600-2 Filed 02/01/18 Page 61 of 69 PageID #:
                                    41108



                    IN THE UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF INDIANA
                            INDIANAPOLIS DIVISION

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  IN RE COOK MEDICAL, INC., IVC FILTERS
  MARKETING, SALES PRACTICES AND                   Case No. 1:14-ml-2570-RLY-TAB
  PRODUCTS LIABILITY LITIGATION                    MDL No. 2570
  ___________________________________________

                       EXHIBIT B TO MOTION TO DISMISS
                              NOTICE LETTERS

                                  Sub-Exhibit 19




  US.116196584.01
Case 1:14-ml-02570-RLY-TAB Document 7600-2 Filed 02/01/18 Page 62 of 69 PageID #:
                                    41109




Angela Kelver Hall                                                                Faegre Baker Daniels LLP
angela.hall@FaegreBD.com                                                 300 N. Meridian Street  Suite 2700
Direct 574.239.1903                                                       Indianapolis  Indiana 46204-1750
                                                                                    Phone +1 317 237 0300
                                                                                        Fax +1 317 237 1000



January 24, 2018


VIA E-MAIL AND FIRST CLASS MAIL
                                                                         For MDL Plaintiffs
Timothy Litzenburg
THE MILLER FIRM LLC
108 Railroad Ave.
Orange, VA 22960
jseldomridge@millerfirmllc.com; kunderwood@millerfirmllc.com

       Re:       Cook MDL Plaintiff Profile Deficiency

Dear Timothy Litzenburg:
According to our records, we have not received the Plaintiff Profile Sheet for the following
Plaintiffs:

             •   Johnson, Sean
             •   Juniper, Dana
             •   Mulanax-Brown, Helena
             •   Wendt, William
             •   Williams, Amy

Pursuant to Third Amended Case Management Order No. 4 (CMO No. 4), Cook may move to
dismiss Plaintiff’s case without prejudice for failure to timely submit a PPS.
Please submit Plaintiff’s PPS and all accompanying documents within five (5) business days to
CookFilterMDL@FaegreBD.com. If the documents are too large to send as attachments to an e-
mail please submit them using the following Secure File Transfer site:
https://sft.faegrebd.com/envelope/CookFilterMDL. If you fail to submit a PPS within the five (5)
days, Cook may move to dismiss Plaintiff’s case.
Case 1:14-ml-02570-RLY-TAB Document 7600-2 Filed 02/01/18 Page 63 of 69 PageID #:
Timothy Litzenburg                  41110
                                     -2-                             1/24/2018


Very truly yours,




Angela Kelver Hall


Cc:   Michael Heaviside - mheaviside@hrzlaw.com
      Ben Martin – bmartin@bencmartin.com
      David Matthews – dmatthews@thematthewslawfirm.com
Case 1:14-ml-02570-RLY-TAB Document 7600-2 Filed 02/01/18 Page 64 of 69 PageID #:
                                    41111



                    IN THE UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF INDIANA
                            INDIANAPOLIS DIVISION

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  IN RE COOK MEDICAL, INC., IVC FILTERS
  MARKETING, SALES PRACTICES AND                   Case No. 1:14-ml-2570-RLY-TAB
  PRODUCTS LIABILITY LITIGATION                    MDL No. 2570
  ___________________________________________

                       EXHIBIT B TO MOTION TO DISMISS
                              NOTICE LETTERS

                                  Sub-Exhibit 20




  US.116196584.01
Case 1:14-ml-02570-RLY-TAB Document 7600-2 Filed 02/01/18 Page 65 of 69 PageID #:
                                    41112




Angela Kelver Hall                                                                Faegre Baker Daniels LLP
angela.hall@FaegreBD.com                                                 300 N. Meridian Street  Suite 2700
Direct 574.239.1903                                                       Indianapolis  Indiana 46204-1750
                                                                                    Phone +1 317 237 0300
                                                                                        Fax +1 317 237 1000



January 24, 2018


VIA E-MAIL AND FIRST CLASS MAIL
                                                                         For MDL Plaintiffs
Samuel Wendt
WENDT LAW FIRM
1100 Main Street, Suite 2610
Kansas, MO 64105
sam@wendtlaw.com; micaela@wendtlaw.com

       Re:       Cook MDL Plaintiff Profile Deficiency

Dear Samuel Wendt:
According to our records, we have not received the Plaintiff Profile Sheet for the following
Plaintiffs:

             •   Aleem, Khayriyyah
             •   Babcock, Gary C.
             •   Byrd, Pamela
             •   Cox, Joseph
             •   Fitzgerald, Timothy P.
             •   Harshbarger, Bonnie
             •   Haupt, Norman
             •   Holder, Jacqueline
             •   Jackson, Carl E.
             •   Landolt, George
             •   Lane, Cherlnell
             •   Mullin, James W.
             •   Ramos, Carol
             •   Rowan, Anna
             •   Salas, Ernesto G.
             •   Siciliani, Luna
Case 1:14-ml-02570-RLY-TAB Document 7600-2 Filed 02/01/18 Page 66 of 69 PageID #:
Samuel Wendt                        41113
                                     -2-                             1/24/2018

          •   Smith, Jenny
          •   Turner, Lora
          •   Whobrey, Herbert

Pursuant to Third Amended Case Management Order No. 4 (CMO No. 4), Cook may move to
dismiss Plaintiff’s case without prejudice for failure to timely submit a PPS.
Please submit Plaintiff’s PPS and all accompanying documents within five (5) business days to
CookFilterMDL@FaegreBD.com. If the documents are too large to send as attachments to an e-
mail please submit them using the following Secure File Transfer site:
https://sft.faegrebd.com/envelope/CookFilterMDL. If you fail to submit a PPS within the five (5)
days, Cook may move to dismiss Plaintiff’s case.


Very truly yours,




Angela Kelver Hall


Cc:   Michael Heaviside - mheaviside@hrzlaw.com
      Ben Martin – bmartin@bencmartin.com
      David Matthews – dmatthews@thematthewslawfirm.com
Case 1:14-ml-02570-RLY-TAB Document 7600-2 Filed 02/01/18 Page 67 of 69 PageID #:
                                    41114



                    IN THE UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF INDIANA
                            INDIANAPOLIS DIVISION

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  IN RE COOK MEDICAL, INC., IVC FILTERS
  MARKETING, SALES PRACTICES AND                   Case No. 1:14-ml-2570-RLY-TAB
  PRODUCTS LIABILITY LITIGATION                    MDL No. 2570
  ___________________________________________

                       EXHIBIT B TO MOTION TO DISMISS
                              NOTICE LETTERS

                                  Sub-Exhibit 21




  US.116196584.01
Case 1:14-ml-02570-RLY-TAB Document 7600-2 Filed 02/01/18 Page 68 of 69 PageID #:
                                    41115




Angela Kelver Hall                                                                Faegre Baker Daniels LLP
angela.hall@FaegreBD.com                                                 300 N. Meridian Street  Suite 2700
Direct 574.239.1903                                                       Indianapolis  Indiana 46204-1750
                                                                                    Phone +1 317 237 0300
                                                                                        Fax +1 317 237 1000



January 24, 2018


VIA E-MAIL AND FIRST CLASS MAIL
                                                                         For MDL Plaintiffs
Peter C. Wetherall
WETHERALL GROUP, LTD.
9345 West Sunset Road
Suite 100
Las Vegas, NV 89148
pwetherall@wetherallgroup.com

       Re:       Cook MDL Plaintiff Profile Deficiency

Dear Peter C. Wetherall:
According to our records, we have not received the Plaintiff Profile Sheet for the following
Plaintiffs:

             •   Gilbert, Ashley
             •   Lowicki, Tracy & Ron

Pursuant to Third Amended Case Management Order No. 4 (CMO No. 4), Cook may move to
dismiss Plaintiff’s case without prejudice for failure to timely submit a PPS.
Please submit Plaintiff’s PPS and all accompanying documents within five (5) business days to
CookFilterMDL@FaegreBD.com. If the documents are too large to send as attachments to an e-
mail please submit them using the following Secure File Transfer site:
https://sft.faegrebd.com/envelope/CookFilterMDL. If you fail to submit a PPS within the five (5)
days, Cook may move to dismiss Plaintiff’s case.


Very truly yours,




Angela Kelver Hall
Case 1:14-ml-02570-RLY-TAB Document 7600-2 Filed 02/01/18 Page 69 of 69 PageID #:
Peter C. Wetherall                  41116
                                     -2-                             1/24/2018


Cc:   Michael Heaviside - mheaviside@hrzlaw.com
      Ben Martin – bmartin@bencmartin.com
      David Matthews – dmatthews@thematthewslawfirm.com
